                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               COLUMBIA DIVISION

UNITED STATES OF AMERICA,                           )
                                                    )
                                                    )
v.                                                  )       Criminal No. 1:12-00010
                                                    )       Judge Trauger
                                                    )
[1] BENJAMIN RILEY BRADLEY                          )


                                             ORDER

         It is hereby ORDERED that this case is set for a change of plea hearing on Thursday,

June 20, 2013, at 3:30 p.m.

         It is so ORDERED.

         Enter this 12th day of June 2013.



                                                    ___________________________________
                                                            ALETA A. TRAUGER
                                                          United States District Judge




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